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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


 Sherry Russell, Individually, and on behalf
 of All Others Similarly Situated,                ECF Case

                Plaintiff,                         No. 1:20-cv-1204-GLS-ATB

        - against -                               STIPULATION OF VOLUNTARY
                                                  DISMISSAL PURSUANT TO FEDERAL
 Healthalliance Hospital Broadway Campus,         RULE OF CIVIL PROCEDURE
 and Ciox Health, LLC,                            41(a)(l)(A)(ii)

                Defendants.

       IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Sherry

Russell, individually and on behalf of all those similarly situated, and Defendants Healthalliance

Hospital Broadway Campus and Ciox Health, LLC, and pursuant to Federal Rule of Civil

Procedure 4l(a)(l)(A)(ii), that the above-captioned action is voluntarily dismissed with prejudice,

with each party to bear its own attorney's fees and costs. Plaintiff Sherry Russell expressly

reserves all rights in connection with the pending medical malpractice action venued in Ulster

County Supreme Court, entitled Ru sell v. Madden. et al., Index No. EF2020-225 8.             This

stipulation does not apply to Ru ell v. Madden. et al. or release HealthAlliance Hospital

Broadway Campus as a defendant in that act"

Dated: February 4, 2021




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                                                     ATTORNEYS FOR PLAINTIFF(S)
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                                  s/ Daniel Gagliardi
